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Lawrence W. Schonbrun, Esq. (CSB No. Obagi») i. D
Law Offices of Lawrence W. Schonbrun:

86 Eucalyptus Road
Berkeley, CA 94705 —OLMAY -7
Tel: (510) 547-8070

Attorney for Plaintiff Class
Member and Objector Wilfred George

 

DEPUTY

IN THE UNITED STATES DISTRICT COURT
' FOR THE SOUTHERN DISTRICT OF CALIFORNIA
ROBERT POWERS, et al., on

behalf of themselves and all
others similarly situated,

Class Action
/
No. 96-1431-B (AJB)

NOTICE OF INTENTION TO SEEK
AWARD OF REASONABLE ATTORNEY'S
FEES AND EXPENSES; REQUEST TO
SET HEARING DATE

Plaintiffs,
vs.
PAUL EICHEN, et al.,

Defendants.

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TO: ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE that plaintiff class member /objector
Wilfred George (hereinafter "Objector") hereby notifies the
parties and the Court that objector intends to file an application
for an award of reasonable attorney's fees and expenses for legal
services performed in connection with his appearance in response
to the "Notice of Pendency and Settlement of Class Actions and
Settlement Hearing," and participation both at the district court
level and the appellate level in the above-referenced matter.

PLEASE TAKE FURTHER NOTICE that plaintiff class objector

hereby requests that the Court set a hearing date on objector's

Notice of Intention to Seek Award of Regyonable Attorney's
Fees and Expenses; Request to Set Hearing Date 1

 

 
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application for an award of reasonable attorneys' fees and
expenses. |

For the reasons set forth in the accompany ing declaration,
objector requests that the hearing date be set no earlier than 45
days from the date that the Court rules on this request. Objector
will itemize his time and expenses present this itemization to the
court and counsel no later than 10 days prior to the date set for
the hearing by the Court, unless the Court, in its order, requests
the submission of this information at an earlier date.

To date, objector's counsel has not received any payment for
services rendered on behalf of objector in this litigation, nor
has his counsel been reimbursed for any out-of-pocket expenses.
The fee requested will compensate objector's counsel for his
efforts in achieving a precedent-setting ruling on standing, for
the remanding of the award of attorneys' fees to the district
court for further explanation, and for the risk in undertaking the
representation of objector on a contingency hasis.

This notice is based on the accompanying memorandum of points
and authorities, declaration of Lawrence W. Schonbrun, the
pleadings presently on file in this case, and such other evidence
as may be considered by the Court.

Dated: May 4, 2001

Respectfully submitted,

[ anaramce, bo Weert

Lawrence W. Schonbrun
Attorney for plaintiff class
member /objector Wilfred George

 

Notice of Intention to Seek Award of Reasonable Attorney's
Fees and Expenses and Request to Set Hearing Date 2
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1 PROOF OF SERVICE BY MAIL
2 I declare that:
3 I am employed in the County of Alameda, California. I am

over the age of 18 years and not party to the within action; my
4 l!business address is 86 Eucalyptus Road, Berkeley, California
94705.

5 On May 4, 2001, I served the attached

6 ||NOTICE OF INTENTION TO SEEK AWARD OF REASONABLE ATTORNEY'S FEES
AND EXPENSES and REQUEST TO SET HEARING DATE; MEMORANDUM OF POINTS
7 ||AND AUTHORITIES; DECLARATION OF LAWRENCE W. SCHONBRUN IN SUPPORT
THEREOF; [PROPOSED] ORDER

9 llon the below-named parties in said cause, by placing a true copy
thereof enclosed in a sealed envelope with postage thereon fully
10 ||prepaid, in the United States mail at Berkeley, California,

addressed as follows:
11

12 ||Keith F. Park, Esq.

Milberg, Weiss, Bershad, Hynes & Lerach
13 |;}600 West Broadway, Ste. 1800

San Diego, CA 92102

14
Robert W. Brownlie, Esq.

15 ||Gray, Cary, Ware & Freidenrich
401 B Street, Ste. 1700

16 ||San Diego, CA 92101

17

I declare under penalty of perjury that the foregoing is true
18 |land correct. Executed on May 4, 2001, at Berkeley, California.

a din Vevace

Sandra Norris

 

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Proof of Service
